 Case 1:05-cr-00036-SPM-AK       Document 243      Filed 11/30/07   Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                     CASE NO.: 1:05cr36-SPM

ALEX CHRISTOPHER LYONS,

           Defendant.
_______________________________/

                      ORDER CONTINUING SENTENCING

      Upon consideration, Defendant’s Motion to Continue Sentencing (doc. 241)

is granted. The sentencing hearing is reset for 1:30 p.m. on January 7, 2008, at

the United States Courthouse in Gainesville, Florida.

      DONE AND ORDERED this 30th day of November, 2007.


                                    s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
